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                                           No. 23-239

             In the United States Court of Appeals
                     for the Fourth Circuit
                                 __________________________________
           AETNA INC.; AETNA LIFE INSURANCE COMPANY; OPTUMHEALTH
                              CARE SOLUTIONS, INC,
                                                          Defendants-Petitioners,
                                                –v.–

                                     SANDRA M. PETERS,
                       on behalf of herself and all others similarly situated,

                                                           Plaintiff-Respondent,
                                 __________________________________
                          On Petition for Permission to Appeal from the
              United States District Court for the Western District of North Carolina,
                                      No. 1:15-cv-00109-MR
                       The Honorable Martin K. Reidinger, District Judge
                                 __________________________________
          SANDRA M. PETERS’ ANSWER IN OPPOSITION TO DEFENDANTS-
         PETITIONERS’ RULE 23(F) PETITION FOR PERMISSION TO APPEAL
                  ORDER GRANTING CLASS CERTIFICATION
                                 __________________________________
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        •    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


            23-239
        No. __________             Caption: __________________________________________________
                                            Aetna Inc., et al. v. Sandra M. Peters

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Sandra M. Peters
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                         Respondent           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ D. Brian Hufford
        Signature: ____________________________________                     Date: ___________________
                                                                                    September 5, 2023

                     Sandra M. Peters
        Counsel for: __________________________________




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                                        INTRODUCTION

              Defendants’1 Rule 23(f) Petitions are frivolous. They advance the same

        arguments that have already been rejected four times in this case—twice by this

        Court and twice by the District Court. The Petitions do not come close to showing

        that the District Court’s certification decision is so manifestly erroneous that

        decertification is a “functional certainty,” such that immediate interlocutory review

        is warranted.

               On June 22, 2021, this Court rejected each of the arguments Defendants

        advance in the instant Petitions. See Peters v. Aetna, 2 F.4th 199 (4th Cir. 2021)

        (decision). This Court then summarily denied Defendants’ Petition for Panel

        Rehearing or Rehearing En Banc with no judge requesting a poll. See USCA4

        Appeal No. 19-2085, Doc. No. 96. Following remand to the District Court,

        Defendants raised the same arguments again in opposition to class certification.

        They were again rejected by the District Court, which carefully followed the law of

        the case established by this Court. See Peters v. Aetna, No. 1:15-cv-00109-MR, 2023

        WL 3829407 (W.D.N.C. June 5, 2023) (“Cert. Order”). Defendants sought

        reconsideration, which the District Court denied because Defendants merely

        “reassert[ed] the same arguments that they previously raised, both before this Court


        1
         “Defendants” refer to Aetna, Inc., Aetna Life Insurance Company, and Optum
        Healthcare Solutions, Inc. “Cert. Order” refers to the District Court’s June 5, 2023
        Memorandum and Order Granting Class Certification.
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        and the Court of Appeals.” Peters v. Aetna, No. 1:15-cv-00109-MR, 2023 WL

        5058820, at *1 (W.D.N.C. Aug. 8, 2023).

              In their Petitions, Defendants recycle the same arguments for the fifth time.

        Defendants cite no intervening change in the law or the factual record—there is

        none—and offer no reason why the District Court’s class certification decision, and

        the law of the case on which it rests, are manifestly wrong and require interlocutory

        review. Aetna’s argument against certification of Plan Claim Class fails because it

        remains blackletter law that administrative service agreements (“ASAs”) and other

        side agreements are not plan documents and cannot supersede the statutory fiduciary

        duties imposed by ERISA or rewrite terms of written ERISA plans. Peters, 2 F.4th

        at 233. Aetna’s argument against certification of the Member Claim Class is equally

        unavailing because, as this Court recognized, financial loss must be calculated at the

        individual claims level, not in the aggregate for a disgorgement or surcharge remedy

        under ERISA. Id. at 217. Optum’s arguments are no better. Optum argues that it

        should be dismissed from the case because it is not a fiduciary, but this Court has

        already correctly held that ERISA allows claims against “a party in interest involved

        in prohibited transactions.” Id. at 240.

              Rule 23(f) imposes a high bar to justify an interlocutory appeal of a class

        certification decision. Defendants’ Petitions do not come close to reaching it. The




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        Court should deny the Petitions and allow the District Court to oversee the litigation

        to final judgment.

                                    QUESTIONS PRESENTED

              By certifying the Classes under Rule 23(b)(1)(A) and 23(b)(3) after finding

        that Aetna insureds and their ERISA plans were governed by materially identical

        plan terms and were charged for Optum’s administrative fees, and where the

        insureds, their plans, and the exact overcharges on discrete benefit claims can be

        identified through defendants’ own data, did the District Court manifestly err such

        that decertification is a functional certainty?

              By following the Fourth Circuit’s directive that it should rely on plan

        documents rather than ASAs and other non-plan communications when determining

        whether Aetna breached its ERISA fiduciary obligations under the plans, did the

        District Court manifestly err such that decertification is a functional certainty?

              By following the Fourth Circuit’s directive that determining financial loss for

        a surcharge or disgorgement remedy should be conducted at the individual claims

        level, did the District Court manifestly err such that decertification is a functional

        certainty?

              By following the Fourth Circuit’s conclusion that Optum could be held liable

        as a party in interest in this case, did the District Court manifestly err such that

        decertification as to Optum is a functional certainty?


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                                  STATEMENT OF THE CASE

              This certified class action challenges Defendants’ uniform, secret practice of

        illegally requiring plans and plan members to pay Optum’s administrative fees by

        mischaracterizing those fees as medical expenses in contravention of plan terms.

        This uniform practice harmed all class members in the same way—they were all

        overcharged on one or more benefit claims. The District Court certified two

        classes—the Member Claim Class to redress Defendants’ unjust enrichment from

        overcharging members on discrete benefit claims, and the Plan Claim Class to

        redress Defendants’ unjust enrichment from overcharging plans on discrete benefit

        claims.

           A. Factual Background

              Plaintiff offers a brief summary of the facts of the case, derived from the

        Fourth Circuit’s recitation of the facts in its prior decision. See Peters, 2 F.4th 199.

              Plaintiff was a member of a self-funded health care plan operated by Mars,

        Inc. Id. at 210. Mars hired Aetna to provide a network of medical providers and to

        be the plan’s claims administrator that would process and authorize benefit payments

        for the health care claims that were submitted by or on behalf of Mars’ employees.

        Id. In exchange for performing these tasks, Aetna was paid an administrative fee by

        the Mars plan. Id. Aetna subsequently elected to hire Optum as a subcontractor to

        fulfill part of Aetna’s obligations to the plan and other Aetna plans, by providing a


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        network of chiropractic and physical therapy providers and processing claims from

        Optum’s so-called “downstream providers” to all Aetna plan members. Id. In other

        words, Aetna hired Optum to serve as the claims administrator for chiropractic and

        physical therapy-related health care claims in Aetna’s stead.

              In exchange for providing these services to Aetna, Optum was of course

        entitled to be paid. Id. But because Aetna hired Optum to perform some (but not all)

        of the same tasks that Aetna had already been paid by the plans to perform, Aetna

        should have been responsible for paying Optum’s fee. Id. Aetna did not want to pay

        Optum’s fee out of its own pocket, however. Thus, it requested that Optum “bury”

        its fee within the claims submitted by Optum’s downstream providers so it would

        appear to be a medical expense that would be paid by the plans or the insureds. Id.

        Optum agreed, although some employees exhibited concern. Id. at 211. Through this

        scheme, the plans and their members, including Plaintiff and her plan, paid Optum’s

        administrative fee, on top of the administrative fee they had already paid Aetna. Id.

        at 210.

              To carry out this objective, Defendants added medical “dummy codes” to the

        ERISA-mandated explanation of benefits (“EOBs”) issued to Plaintiff and other

        class members. Id. The “dummy codes” were Current Procedural Terminology

        (“CPT”) codes that improperly listed Optum’s purely administrative services as

        medical services, so that the plans and members would pay Optum’s administrative

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        fees rather than Aetna paying them, while concealing the scheme. Id. at 210–11,

        234–35. Internally, Defendants admitted that they were trying to “bury” these fees

        and that their conduct would not be viewed favorably if revealed. Id. at 210–11.

              On June 12, 2015, Plaintiff filed her complaint against Defendants, seeking

        relief for Defendants’ misconduct under ERISA, 29 U.S.C. §§ 1132(a)(1)(B), (a)(2),

        and (a)(3). She sought to represent a class of Aetna plan members on behalf of their

        plans under § (a)(2) to recover injuries to the plans caused by the Aetna-Optum

        scheme, under which the plans were charged for “buried” administrative fees to

        Optum that should have been paid by Aetna (the “Plan Claim Class”). She also

        sought to represent a class, under § (a)(1)(B), of Aetna plan members who also paid

        more for at least one benefit claim than they should have because they were secretly

        charged a portion of Optum’s “buried” administrative fees (the “Member Claim

        Class”). She also sought equitable relief under § (a)(3).

           B. Procedural History And The District Court’s Class Certification Order

              On March 29, 2019, the District Court denied Plaintiff’s motion for class

        certification. Peters v. Aetna, No. 1:15-cv-00109-MR, 2019 WL 1429607

        (W.D.N.C. Mar. 29, 2019). Plaintiff appealed, and this Court reversed. Peters, 2

        F.4th 199. This Court held that the District Court erred in denying class certification

        and granting summary judgment in Defendants’ favor. More specifically, this Court

        held that: (1) the fact that Plaintiff was overcharged on a single benefit claim, by


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        paying an extra amount due to Optum’s hidden administrative fee, was sufficient to

        establish Article III injury, and that this “underlying harm derives from the same

        common contention—that [Defendants’] fee-shifting scheme breached the terms of

        the applicable Plan and constituted a breach of fiduciary duty,” id. at 243; (2) the

        District Court erred by focusing on the Plaintiff’s plan’s ASA with Aetna rather than

        on the written terms of Plaintiff’s ERISA plan, id. at 233; (3) the harm alleged for

        both Plaintiff and her plan could be remedied through a disgorgement or surcharge

        remedy reflecting the excess charges from Optum’s hidden administrative fee that

        had been passed on to Plaintiff and her plan, which could be determined from

        Defendants’ own data and which did not require proof of individual injury, id. at

        242-43; and (4) Optum could be held liable as a party in interest, id. at 244. This

        Court remanded the class certification question back to the District Court for further

        consideration.

              On September 1, 2021, in the District Court, Plaintiff filed a supplemental

        memorandum in support of her renewed motion for class certification. Peters v.

        Aetna, No. 1:15-cv-00109-MR (W.D.N.C.), Dkt. No. 256. In it, she explained why,

        based on the Fourth Circuit’s opinion and the evidentiary record, the classes should

        be certified. Defendants’ opposition to that supplemental filing raised the same

        arguments they had made previously, and which the Fourth Circuit had just rejected,

        and which they make again in the Petitions. See id., Dkt. No. 259.

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              On June 5, 2023, the District Court granted Plaintiff’s renewed motion for

        class certification, relying heavily on the Fourth Circuit’s opinion, i.e., the law of the

        case. In its class certification decision, the District Court certified two classes under

        Rule 23(b)(1)(A) and Rule 23(b):

                   Plan Claim Class: All participants or beneficiaries of self-
                    insured ERISA health insurance plans administered by Aetna
                    for which plan responsibility for a claim was assessed using
                    an agreed rate between Optum and Aetna that exceeded the
                    provider’s contracted rate with Optum for the treatment
                    provided

                   Member Claim Class: All participants or beneficiaries of
                    ERISA health insurance plans insured or administered by
                    Aetna for whom coinsurance responsibility for a claim was
                    assessed using an agreed rate between Optum and Aetna that
                    exceeded the provider’s contracted rate with Optum for the
                    treatment provided

        Cert. Order at *12 (finding certification appropriate under Rule 23(b)(1)(A)), *13

        (finding certification appropriate under Rule 23(b)(3)).2 The District Court also

        made clear, based on the Fourth Circuit’s opinion, that both the Member Claim Class

        and the Plan Claim Class were certified to seek surcharge and disgorgement

        reflecting Defendants’ ill-gotten gains.

              On June 19, 2023, Defendants filed a motion for reconsideration. Peters v.

        Aetna, No. 1-15-cv-00109-MR (W.D.N.C.), Dkt. No. 275. The District Court denied



        2
         In what appears to be administrative error, the order refers to certification only
        under (b)(3). Id. at *14.
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        it, finding that Defendants merely “reassert[ed] the same arguments that they

        previously raised, both before this Court and the Court of Appeals.” Id., Dkt. No.

        280 at 2.

                                    STANDARD OF REVIEW

              Both Petitions recite the factors this Court considers when evaluating a request

        for interlocutory appeal under Rule 23(f). Aetna Pet. at 10-11; Optum Pet. at 7 (both

        quoting Lienhart v. Dryvit Sys. Inc., 255 F.3d 138, 144 (4th Cir. 2001)). But the

        Petitions purport to rely solely on only one factor: that there is “substantial

        weakness” in the District Court’s class certification decision.3 This is preposterous.

               When, as here, an alleged “substantial weakness” is the only cited basis in a

        Rule 23(f) petition, interlocutory review is appropriate only in “extreme cases,”

        where the class certification decision is “manifestly erroneous” such that

        “decertification is a functional certainty.” Id. at 145 (emphasis added). This

        threshold showing is high, in part, because district courts “have wide discretion in

        deciding whether or not to certify a class.” Gunnells v. Healthplan Servs., 348 F.3d

        417, 424 (4th Cir. 2003) (internal quotation omitted).



        3
          The Petitions do not contend that any of the other factors support interlocutory
        review. Aetna refers to other considerations relevant to a 23(f) petition, such as the
        impact of the questions at issue to “related actions” and if there is “irresistible
        pressure on defendant to settle,” see Aetna Pet. at 11 (citations omitted), but fails to
        argue, let alone show, that those principles apply in this case, which, of course, they
        do not.
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                Given the procedural history here, Defendants’ burden is particularly heavy.

        Not only must they overcome the considerable deference afforded district courts

        where, as here, the District Court “conducted a careful Rule 23 analysis, and

        supported each of its 23(a) and 23(b)(3) holdings with detailed findings,” Cent.

        Wesleyan Coll. v. W.R. Grace & Co., 6 F.3d 177, 186 (4th Cir. 1993), but they must

        also overcome the law of the case doctrine: “once the decision of an appellate court

        establishes the law of the case, it must be followed in all subsequent proceedings in

        the same case in the trial court” unless “the prior decision was clearly erroneous and

        would work manifest injustice.” TFWS, Inc. v. Franchot, 572 F.3d 186, 191 (4th Cir.

        2009). Given that the District Court’s class certification order rests squarely on the

        law of the case established by this Court, 2 F.4th 199, Defendants must also prove

        that this Court’s prior decision—which was decided on the same evidentiary record

        as the decision for which Defendants now request interlocutory review—was

        manifestly erroneous too.

                                           ARGUMENT

           I.      In Certifying The Plan Claim Class, The District Court Properly
                   Applied Bedrock ERISA Principles That Plan Terms—Not
                   Administrative Service Agreements Or Other Non-Plan Documents—
                   Govern Plaintiff’s Claims.

                Aetna’s lead argument for why the District Court (and by extension, this

        Court) erred manifestly is its unsupportable contention that the District Court should

        have considered side agreements and communications between Aetna and plan

                                                  10
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        sponsors, rather than the plan documents themselves, to determine Aetna’s

        obligations under ERISA for the adjudication of benefit claims and calculation of

        benefits. Defendants are (still) wrong.

              Aetna made this very argument to the Fourth Circuit: after the District Court

        relied on the ASAs rather than the plan documents themselves in its initial class

        certification decision (Peters v. Aetna, No. 1:15-cv-00109-MR, 2019 WL 4440200,

        at *5–6 (W.D.N.C. Sept. 16, 2019)), Defendants took that same position as appellee

        before this Court. See USCA Appeal 19-2085, Dkt. No. 42 at 31 (arguing ASAs and

        course of dealing with plan sponsors contained variations that defeat class

        certification). The Fourth Circuit rejected that argument, holding: “[T]he district

        court erred in relying solely on the [ASA] as opposed to the SPD when interpreting

        the terms of the Plan… Had it properly assessed the SPD rather than the [ASA], the

        district court would have concluded that the SPD supports Peters’ position.” Peters,

        2 F.4th at 233.

              In the District Court’s most recent class certification decision, it heeded the

        Fourth Circuit’s directive and relied on the plan documents instead. See Cert. Order

        at *10 n. 14 (explaining that ASAs and communications with plan sponsors “‘are

        not documents and instruments governing the plan’ and therefore are not controlling

        on the issue of the Defendants’ obligations arising under the plans.”) (citing Boyd v.

        Met. Life Ins. Co., 636 F.3d 138, 140 (4th Cir. 2011)).

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                  The District Court’s conclusion, like this Court’s, follows directly from the

        text of ERISA and Supreme Court precedent. See 29 U.S.C. § 1104(a) (as an ERISA

        fiduciary, Aetna must “discharge [its] duties with respect to a plan solely . . . (D) in

        accordance with the documents and instruments governing the plan insofar as such

        documents and instruments are consistent with the provisions of [ERISA]”);

        Heimeshoff v. Hartford Life & Acc. Ins. Co., 571 U.S. 99, 108 (2013) (the “linchpin”

        of ERISA is the “administrator’s duty” to apply the “written terms of the plan”); US

        Airways, Inc. v. McCutchen, 569 U.S. 88, 101 (2013) (“The plan, in short, is at the

        center of ERISA.”).4

                  Aetna’s argument fails, therefore, both because it flouts this Court’s contrary

        holding in this case and because it contravenes blackletter ERISA law.

            II.      In Certifying The Member Claim Class, The District Court Faithfully
                     Followed This Court’s Directive That Members’ Financial Loss
                     Should Be Calculated At The Individual Claims Level For
                     Disgorgement Or Surcharge.




        4
          See also Hendricks v. Cent. Reserve Life Ins. Co., 39 F.3d 507, 512 (4th Cir. 1994)
        (“the plan is the controlling document for determining the scope of benefits
        provided”). Aetna offers no support for its claim that the plan document rule only
        applies selectively, such that ASAs (and other non-plan communications) suddenly
        become plan documents that supersede the written terms of the ERISA plan when a
        court assesses, under § 1132(a)(2), if an ERISA fiduciary has complied with its
        ERISA fiduciary duties in carrying out its obligations under the plan. See Aetna Pet.
        at 16 n. 8.
                                                     12
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              Aetna’s second argument for why the District Court and this Court erred

        manifestly fails for the same reason—it is directly contrary to this Court’s prior

        holding.

              Aetna argues (again) that financial loss must be calculated in the aggregate,

        which would require an individualized calculation for each class member. But this

        Court has already held, in this case, that for a disgorgement remedy, which focuses

        on preventing a defendant’s unjust enrichment, financial harm should be calculated

        in terms of whether a defendant was unjustly enriched on each discrete benefit claim.

        Peters, 2 F.4th at 217–21, 238. Indeed, this Court could not have been clearer: “the

        financial loss analysis must be conducted at the individual claims level rather than

        at the aggregate claims level” for a disgorgement remedy, id. at 218 (emphasis

        added), and that this remedy does not require an examination of a class member’s

        entire claims history. Id. at 219–21, 238. The Court concluded: “[W]e fail to see how

        surcharge, disgorgement, or declaratory and injunctive relief would necessarily be

        foreclosed here in a class context based on the record to date.” Id. at 243. No further

        discovery has occurred in this case, and “the record to date” is unchanged from that

        before the Court for the prior appeal.

              In its recent class certification order, the District Court followed the Fourth

        Circuit’s directive. It certified the Member Claim Class to seek disgorgement

        because “every class member was overcharged on at least one benefit claim” and

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        “[d]efendants’ data show the amount of administrative fees that the Defendants

        forced the plans and plan members to bear for each claim.” Cert. Order at *6, *9.

        The District Court then carefully crafted the class definition for the Member Claim

        Class to include members with “individual claims…for the remedies of

        disgorgement/surcharge of any benefit the Defendants received at the expense of

        such participants or beneficiaries.” Cert. Order at *9.

              Aetna fails to explain why, having already argued and lost this argument

        before the Fourth Circuit in this case, interlocutory appeal of that exact same issue

        on the exact same record is warranted. It obviously is not.

           III.     Optum’s Recycled Arguments Ignore The Law Of The Case And The
                    District Court’s Careful Application Of The Law Of The Case In The
                    Class Certification Decision.

              Like Aetna, Optum does not present any reasons why the District Court’s

        certification order was so clearly wrong that it justifies immediate interlocutory

        review. And like Aetna, Optum’s Petition asks this Court to find that the District

        Court manifestly erred by following this Court’s direction in Peters, 2 F.4th 199,

        and to disregard and reverse the law of the case that was established in that earlier

        decision.

              In its Petition, Optum contends it should not be a party in this case due to its

        nonfiduciary status. But the District Court correctly held that Optum’s arguments

        were foreclosed by this Court’s directive that Optum could be held liable as a party


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        in interest. Cert. Order at *8. Specifically, this Court found that “Optum could be

        held liable as a party in interest involved in prohibited transactions based on its

        apparent participating in and knowledge of Aetna’s administrative fee billing

        model.” Peters, 2 F.4th at 240. In reaching this decision, this Court cited to record

        evidence of Optum employees “register[ing] concerns over the legitimacy of the

        administrative fee billing model.” Id.; see also id. at 240 n. 20 (Optum employees

        referring to the scheme as “very problematic” and “virtually impossible…to make

        the math work”). Optum fails to identify any changes in law or in the factual record

        in this case since this Court’s decision—there are no such changes—that render this

        Court’s findings, and the District Court’s adherence to those findings, manifest error

        such that interlocutory review is necessary.

              Indeed, Optum’s Petition rests on a misdirection: it does not even address the

        actual claim against it that the District Court certified—an § (a)(3) claim for

        declaratory and retrospective injunctive relief. See Cert. Order at *8 (“Plaintiff still

        has claims for declaratory and non-prospective injunctive relief against Optum that

        remain”); see also id. at *3–4 (explaining that Plaintiff brings a “declaratory and

        injunctive relief for both self-insured plans and participants/beneficiaries pursuant

        to § 1132(a)(3).”) (emphasis added).5


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          At most, Optum’s arguments—that a nonfiduciary cannot face liability under
        ERISA § 1132(a)(2) and that it did not receive plan assets under § 406(a)(1)(D)—
        are common questions that can be resolved on a classwide basis. Such arguments are
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              Finally, Optum’s contention that it cannot be liable because it did not receive

        plan assets, Optum Pet. 11–14, simply repeats the argument that it previously and

        unsuccessfully made to this Court twice: first in its appellee brief, see USCA Appeal

        19-2085, Doc. 42 at 53, 55, and then in its request for panel rehearing or en banc

        review, USCA Appeal 19-2085, Doc. 94 at 20, which was summarily denied. USCA

        Appeal 19-2085, Doc. 96. Optum fails to explain why the District Court’s rejection

        of Optum’s same “plan assets” argument—which was entirely consistent with the

        conclusions of this Court—makes decertification a “functional certainty” that

        requires immediate interlocutory review.

                                         CONCLUSION

              For the foregoing reasons, the Court should deny the two Petitions.

        Dated: September 5, 2023

                                               Respectfully submitted,

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        better suited for a motion to dismiss or for summary judgment; they have no bearing
        on class certification. For that reason alone, the Court should decline Optum’s
        petition.

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              This brief complies with type-volume limits of Fed. R. App. P. 5(c)(1)

        because it contains 3,749 words, excluding the parts of the document exempted by

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                                 CERTIFICATE OF SERVICE

              I hereby certify that at on September 5, 2023, the foregoing was filed with the

        Clerk of Court for the United States Court of Appeals for the Fourth Circuit through

        the appellate CM/ECF system, and that a true and correct copy was served on the

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